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US. DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS
ATTORNEY APPEARANCE FORM

NOTE: In order to appear before this Court an attorney must either be a member in good

standing of this Court’s general bar or be granted leave to appear pro hac vice as provided for
by Local Rules 83.12 through 83.14.

 

In the Matter of Case Number: 1:12-cv-06063
Henry Barrows, Plaintiff

Vv.

Sonya Gyimah, et al., Defendants
AN APPEARANCE JS HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY FOR:
Henry Barrows, Plaintiff

 

NAME (Type or print}
David A. Genelly

 

SIGNATURE (Use electronic signature if the appearance form is filed electronically)
s/ David A. Genelly

 

FIRM
Vanasco Genelly & Miller

 

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CITY/STATE/ZIP
Chicago, IL 60602

 

ID NUMBER (SEE ITEM 3 IN INSTRUCTIONS} TELEPHONE NUMBER

 

 

 

 

00932663 (312) 786-5100

| ARE YOU ACTING AS LEAD COUNSEL IN THIS CASE? YES nol |
ARE YOU ACTING AS LOCAL COUNSEL IN THIS CASE? yes|_| NO
ARE YOU A MEMBER OF THIS COURT’S TRIAL BAR? yes[/ | nol |

 

IF THIS CASE REACHES TRIAL, WILL YOU ACT AS THE TRIAL ATTORNEY? ves| ¥ | no[ |

 

 

IF THIS IS A CRIMINAL CASE, CHECK THE BOX BELOW THAT DESCRIBES YOUR STATUS.

RETAINED COUNSEL| | APPOINTED COUNSEL

 

 
